        UNITED STATES
Case:17-11810-MER     BANKRUPTCY
                  Doc#:68            COURT
                          Filed:01/29/19   DISTRICT OF 12:12:43
                                         Entered:01/29/19 COLORADO
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      IN RE:                                                CHAPTER 13
      JUDITH JEAN SCHNEIDER                                 CASE: 17-11810 MER



                                    DEBTOR


    ORDER GRANTING TRUSTEE'S MOTION TO DETERMINE TREATMENT
       OF CLAIM FILED BY ADAMS COUNTY TREASURER, CLAIM #7


          This matter came before the Court on the Chapter 13 Trustee’s Motion to

   Determine Treatment of Claim #7 filed by ADAMS COUNTY TREASURER with a

   notice and opportunity of hearing. Trustee alleged the Chapter 13 Plan did not provide

   for the secured claim filed by ADAMS COUNTY TREASURER. No party filed a

   response to the Trustee's pleading. Accordingly, it is

          ORDERED that Trustee’s Motion to Determine Treatment of Claim is

   GRANTED. It is further, ORDERED that Trustee shall not fund ADAMS COUNTY

   TREASURER’s proof of claim unless the plan is modified to provide for the claim.




                                                BY THE COURT:
   Dated: January 29, 2019

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                                                United States Bankruptcy Judge
